         Case 1:21-cr-00040-TNM Document 9 Filed 02/08/21 Page 1 of 7




                               UNITED STATES DISTRICT COURT

                                        DISTRICT OF COLUMBIA
- - - - - - - - - - - - - - - - - - - - - - - - - - - - - - - - - - - - )(
UNITED STATES OF AMERICA,                                                  Criminal No. 21-cr-40 (TNM)

                   v.

PATRICK MCCAUGHEY Ill ,

                             Defendant.                                      February 5, 2021
- - - - - - - - - - - - - - - - - - - - - - - - - - - - - - - - - - - - )(

                        MOTION FOR RELEASE ON BOND (Redacted)

         The Defendant Patrick McCaughey Ill respectfully moves that he be

 released on : (a) a real estate bond secured by a New York property, the total

 equity of which is approximately $450,000; (b) surety bonds signed by the below

    individuals in the amount of an additional $250,000.00, and (c) the conditions

 set forth herein , all of which, if imposed; will ensure that he is not in any way a

 flight risk nor a danger to the community. 1

         Legal Standards

         "Our system of criminal justice embraces a strong presumption against

    detention." U.S. v. Hassanshahi, 989 F.Supp.2d 110, 113 (Dist. D.C. 2013)

    (citing , U.S. v. Hanson, 613 F.Supp.2d 85, 87 (D.D.C.2009)). "In our society

    liberty is the norm, and detention prior to trial or without trial is the carefully

1
  The defendant submits that a Release on Recognizance is sufficient in this
case; however, he proposes these substantial conditions in order to assuage any
potentially outstanding concerns the Court may have post-hearing. Further, in
the event the Court deems this substantial proposal insufficient, the defendant's
father can and will provide additional security of up to $150,000 in cash, and he
can and will also encumber his real property in Maine, worth approximately
$150,000, which parcel he owns free and clear of any liens.
        Case 1:21-cr-00040-TNM Document 9 Filed 02/08/21 Page 2 of 7




limited exception." Id. (citing U.S. v. Salerno, 481 U.S. 739, 755, 107 S.Ct.

2095, 95 L.Ed.2d 697 (1987)). "The Bail Reform Act requ ires that the Court

release a defendant if there are release conditions that reasonably assure that

the individual will not present a flight risk or a danger to the community." !Q.

(citing 18 U.S.C. § 3142(b) (2012).          "Where detention is based on an

individual's danger to other people or the community, a clear and convincing

standard applies." !Q. at 114 (citing, Hanson , 613 F.Supp.2d at 88).

                Factual Background I Argument

         The defendant's recently retained undersigned counsel has not had the

benefit of viewing any of the specific evidence upon which the government

obtained this Indictment and intends to use to try to prove the defendant's guilt

in this matter. However, the following facts seem to be apparent:

         (a) Whatever the defendant is alleged to have done on January 6, 2021

at the Capitol building , all indications are that this is a one-time event; i.e.,

there is no evidence that defendant conspired or in any other way planned with

other individuals to attempt to illegally enter the U.S. Capitol, or to try to injure

    any federal employees, officers, agents, or anyone else;2

         (b) The defendant travelled to Washington D.C., with his father, in order

    to exercise his Constitutional right to express his support for then-President

    Trump and to implore his Representatives in Congress to investigate the many

2
  The idea that there was a lack of planning finds some confirmation in the fact
that the defendant's somewhat of a de facto unindicted coconspirator in this case
- former President Trump- was impeached for a second time precisely because
it was alleged that he incited otherwise peaceful protestors, such as the
defendant, to create violence at the Capitol.
       Case 1:21-cr-00040-TNM Document 9 Filed 02/08/21 Page 3 of 7




outstanding allegations of election fraud before they voted to certify the

electors for President Biden;

       (c) There is no evidence that Mr. McCaughey came to this district armed

in any way - the alleged weapon in this case is, on information and belief, one

of the dozens of plastic police defensive shields that were being passed from

the rear of the crowd to the front of the crowd, where the defendant

unfortunately had found himself after having split from his father to get a closer

view of the Capitol ;

       (d) Various public snippets of video showing the defendant as he was

squeezed next to the alleged victim, who was screaming in apparent pain, are

open to highly disparate interpretations, none of which can be shown in any

remotely conclusive manner, at least at this stage of proceedings. It is clear,

for instance, that after the subject officer had his gas mask ripped from his face

by a    3rd   party protestor and it was revealed that he was bleeding, Mr.

McCaughey could be seen reaching over the plastic shield that separated

them in order to engage the eye shield attached to the officer's helmet in order

to protect him from further injury. Likewise, it is also apparent by both video

and audio recordings that Mr. McCaughey then motioned and called to other

federal officers to alert them that this officer was injured and in need of

assistance - hardly the behavior of someone who, as it is alleged , had just

deliberately tried to harm that same officer. Further, some versions of the video

pan back wide enough to see the defendant being pinned forward to the

Capitol entryway by what looks like hundreds of protesters;
        Case 1:21-cr-00040-TNM Document 9 Filed 02/08/21 Page 4 of 7




         (e)   Mr. McCaughey has no prior involvement in the criminal justice

system and has very strong ties to his home in Connecticut. He was born in

California but has lived most of his life with his mother in Connecticut. He was

staying in New York temporarily at the time of his arrest because he was

abiding Connecticut's COVID19 quarantine rules and recommendations and

he wanted to protect his mother, having travelled out of state to this district on

1/6/21 . A United States citizen, Mr. McCaughey also has German citizenship

through is mother, a German national, but he has always resided in this

country; and

         (f) As the Court can see from the attached Character Letters (Exhibit A),

Mr. McCaughey has a reputation as a bright, honorable, upstanding, and

    nonviolent young member of his community, with a solid work ethic and spirit

of selfless service.     Even assuming he was guilty of each count in the

    Indictment, it's clear from both his character and background as well as the

unique facts and circumstances of this case, that Mr. McCaughey is not a

danger to the community going forward . There is simply nothing in the record

to suggest that, should he be released on his own recognizance or under any

    combination of the substantial conditions proposed below, that he would be a

    danger to anyone.3




3
  The defendant was working for his father's construction company before
business basically stopped for most of 2020 due to the pandemic. Things appear
to be loosening up and the defendant's father is about to start a project that will
last the better part of a month, or longer; the defendant, if released , will be
working with his father on that project and going forward . (See, Exhibit B).
      Case 1:21-cr-00040-TNM Document 9 Filed 02/08/21 Page 5 of 7




               Proposed Conditions of Release

         The defendant submits the following proposed conditions of his release:

    1.           Ms. Ulrike Fein-McCaughey, the defendant's mother and the

             person with whom the defendant was residing at the time of his arrest,

             is prepared to act as Mr. McCaughey's    3rd   Party Custodian and to sign

             an unsecured bond as a surety for $250,000.00.

                                        (Mother) (Third Party Custodian & Surety)




    2.           Mr. Patrick McCaughey, Ill , father of the Defendant, will pledge as

             security, at minimum, his real property known as

                               , in which he has confirmed equity of approximately

             $450,000.00. If necessary, he is also prepared to post up to

             $150,000.00 in cash for bond , as well as accept a lien for his full

             equity stake, in favor of the government, on a property he owns free

             and clear, in Maine, worth approximately $150,000.00.

             Patrick Edward McCaughey Ill' (Father) (Real Estate lienee &




4
  Due to an error when the defendant's mother registered the defendant with
state authorities at birth, the defendant was given the same identical name as his
father, instead of being properly named Patrick Edward McCaughey the IV.
    Case 1:21-cr-00040-TNM Document 9 Filed 02/08/21 Page 6 of 7




  3.         Though counsel believes it entirely unnecessary given the unique

         circumstances of the alleged offense, as well as the defendant's 23-

         year stellar history both before and after January 6 , 2021 , the

         defendant will wear an electronic monitoring I GPS device and be

         subjected to curfew or even home confinement if deemed necessary

         the Court.

  4.         The defendant shall be required to seek and obtain employment

         as soon as possible.

  5.         The defendant's travels are to be limited to the District of

         Connecticut, the Southern District of New York, and to and from the

         within District for physical court appearances herein.

  6.         The defendant shall surrender- either to his attorney or the Clerk

         of Court- any passports in his name and possession.

   7.        The defendant agrees to such other terms and conditions

         as the Court deems appropriate for his release .


Dated:     Stamford , Connecticut
           February 51h, 2021

                                         By ~ ---------
                                               Lindy R. Ursa
                                               Attorney at Law
                                               Bar No.: ct 20315
                                               810 Bedford Street, Suite 3
                                               Stamford , CT 06901
                                               Tel: (203) 325-4487
                                               Fax: (203) 357-0608
                                               Email:
                                               lindy@lindyursolaw.com
Case 1:21-cr-00040-TNM Document 9 Filed 02/08/21 Page 7 of 7




                 CERTIFICATE OF SERVICE

        hereby certify that a copy of the foregoing was filed and

 served electronically on all parties of record , on this ~h day of
                                                       y
 February in the year of our Lord 2021.



                        L1ndy R. Urso
